Case 2:11-cr-20066-RHC-EAS ECF No. 343, PageID.16812 Filed 06/10/16 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,

 v.                                                   Criminal No. 11-20129
                                                      Criminal No. 11-20066
 SCOTT WILLIAM SUTHERLAND, et al.,

       Defendants.
                                               /

                    ORDER SETTING STATUS CONFERENCE FOR
                       TRIAL GROUP 1 AND TRIAL GROUP 2

       All parties are preparing for the sentencing of Defendants who were found guilty

 at trial on various counts: Patrick Michael McKeoun, Jeff Garvin Smith, Paul Anthony

 Darrah, Cary Dale Vandiver, Vincent Witort, David Randy Drozdowski, Victor Carlos

 Castano, Michael Kenneth Rich (collectively, the “Trial Defendants”). The probation

 department has prepared and circulated Presentence Investigation Reports (“PSIRs”),

 and some Trial Defendants have filed objections or controverted items while others

 have sought extensions of time to so file. The government likewise has sought

 extensions in order to respond.

       In addressing various requests to extend time, the court has come to understand

 that objections which have thus far been submitted are unusually voluminous, and will

 likely require substantial resources to address. There may exist some overlap, i.e.,

 contested issues common to some or all Trial Defendants. The court’s staff has

 discussed time extensions with various of the defense attorneys, government counsel,

 and the probation department. Everyone involved seems to agree that under the
Case 2:11-cr-20066-RHC-EAS ECF No. 343, PageID.16813 Filed 06/10/16 Page 2 of 3




 current trajectory, preparing, responding, and addressing the objections (by all counsel,

 probation, and the court) will be a very lengthy process, akin to partial re-trials of each

 Trial Defendant, one-by-one. All parties also seem to agree that some effort should be

 undertaken to attempt to consolidate and narrow the issues in order to more

 expeditiously and economically resolve PSIR disputes. This may involve one or more

 hearings aimed at the resolution of overlapping factual matters.

        To that end, the court will confer with counsel to discuss methods of handle the

 sentencing process of the Trial Defendants. Trial Defendants need not be present, but

 each of their attorneys must be, along with the government, and all probation officers

 assigned to the Trial Defendants. Counsel are directed, in the meantime, to carry on

 discussion of these matters with each other, in an attempt to come to agreements

 ahead of the conference, or to at least present suggestions on a means of more

 expeditiously resolving PSIR disputes. Thus,

        IT IS ORDERED that counsel and probation officers shall appear for a mandatory

 in-person status conference on June 23, 2016 at 2:00 p.m., at 231 W. Lafayette Blvd.,

 Detroit, Michigan, in Courtroom 237. Unless substantial agreement has been

 reached, counsel should expect to spend the remainder of the business day in

 conferences, and should allocate their time accordingly.

        IT IS FURTHER ORDERED that no further objections or responses shall be filed,

 pending agreement on how to better streamline this process.

        Counsel are directed to expend resources in attempts to identify the legal or




                                               2
Case 2:11-cr-20066-RHC-EAS ECF No. 343, PageID.16814 Filed 06/10/16 Page 3 of 3

  factual issues resolution of which will better organize the submission and resolution of

 PSIR objections.

                                                                   s/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE
 Dated: June 10, 2016

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, June 10, 2016, by electronic and/or ordinary mail.

                                                                   s/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522




 C:\Users\wagner\AppData\Local\Temp\notesDF63F8\11-20129.SUTHERLAND.SentencingTrialDefendants.RHC.wpd


                                                                      3
